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 4
 5   Attorney for Defendant
     Angelito Evangelista
 6
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         )              NO. CR. S-08-318 LKK
12               Plaintiff,              )
                                         )
13   v.                                  )              STIPULATION AND ORDER
                                         )              RE MODIFICATION OF TURN IN DATE
14   ANGELITO EVANGELISTA,               )
                                         )
15                                       )
                 Defendant.              )
16                                       )
     ____________________________________)
17
            It is hereby stipulated and agreed to between, Angelito Evangelista, by and through
18
     counsel, Dwight M. Samuel, Attorney at Law, and United States of America, by and through
19
     Russell Carlberg, Assistant United States Attorney, that the turn in date originally ordered by the
20
     court of March 15, 2012 be vacated and that defendant will be ordered to turn himself in on June
21
     8, 2012.
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            The foundation for the requested modification of the courts order is based upon
23
     defendant’s need to complete his Workmans Compensation medical evaluation. This evaluation
24
     needs to be done in order for the defendant to get a disability rating and resolve his Workmans
25
     Compensation claim. In a document supplied to AUSA Carlberg and Linda Alger of Federal
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     Probation, defendant represents that the time for this Workmans Compensation examination is
27
     May of 2012.
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 1          Based upon defendant’s representation the government does not oppose the modification
 2   of defendant’s turn in date as above enumerated.
 3          Therefore the parties request in the interest of justice that the courts turn in order be
 4   modified to permit a turn in date of June 8, 2012.
 5
 6   Respectfully submitted,
 7
 8   Dated: February 6, 2012
 9
                                                                   /s/ Dwight M. Samuel
10                                                                 DWIGHT M. SAMUEL
                                                                   Attorney for Defendant
11
     Dated: February 6, 2012
12                                                                 /s/ Russell Carlberg
                                                                   RUSSELL CARLBERG
13                                                                 Assistant U.S. Attorney
14
15
16
            IT IS SO ORDERED.
17
18   Dated: February 8, 2012
19                                                         _____________________________
20                                                           LAWRENCE K. KARLTON
                                                            United States District Court Judge
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